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                         UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF PUERTO RICO


WALBERTO HERNANDEZ REYES

                Plaintiff                           Case No. .: 3:21-cv-01372 SCC

                   v.


CT RADIOLOGY COMPLEX, LLC
         Defendants



           MOTION FOR VOLUNTARY DISMISSAL WITH PERJUDICE

Pursuant to Fed. R. Civ. P. 41 (a), Plaintiff Walberto Hernandez Reyes moves to dismiss the
instant complaint as to Defendant CT Radiology Complex, LLC WITH PREJUDICE on
account to settlement agreement.


I HEREBY CERTIFY THAT I electronically filed the foregoing with the Clerk of the
Court using the CM/ECF System, which in turn will send notification of such filing to all
attorneys of record.


RESPECTFULLY SUBMITTED,


DATED: June 3, 2022.

                                                   VELEZ LAW GROUP LLC
                                                   CIVIL RIGHTS DIVISION

                                                   S/JOSE CARLOS VELEZ-COLÓN,
                                                   ESQ.
                                                   USDC-PR NO.: 231014
                                                   VLG@VELEZLAWGROUP.COM
                                                   421 AVE MUÑOZ RIVERA #205
                                                   SAN JUAN PR
                                                   TEL: (787) 254-8267
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                                  Attorney for Plaintiff
